          Case 2:18-cr-00024-TLN Document 90 Filed 07/12/19 Page 1 of 2



1
     HEATHER E. WILLIAMS, #122664
2    Federal Defender
     LINDA C. ALLISON
3    Assistant Federal Defender
     OFFICE OF THE FEDERAL DEFENDER
4    801 “I” Street, 3rd Floor
     Sacramento, CA 95814
5    916-498-5700
     Linda_Allison@fd.org
6
     Attorney for Defendant
7    DONTE ROBINS

8
9
                              IN THE UNITED STATES DISTRICT COURT
10
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
     UNITED STATES OF AMERICA,                       )   Case No. 2:18-cr-00024-GEB
13                                                   )
                           Plaintiff,                )   STIPULATION TO MODIFY CONDITIONS
14                                                   )   OF PRETRIAL RELEASE
     v.                                              )
15                                                   )
     DONTE ROBINS,                                   )
16                                                   )
                           Defendant.                )   Judge: Hon. Carolyn K. Delaney
17                                                   )
                                                     )
18
19
20             The defendant, DONTE ROBINS, has been supervised by pretrial service since

21   November 6, 2018. His conditions have been modified once before. That modification was last

22   February and changed his curfew hours. There have been no violations of his pretrial

23   conditions. Mr. Robins attends BCC court regularly and is expected to graduate in a few

24   months. He is actively seeking employment, although his disability (he is completely blind)

25   makes the job search challenging.

26             The parties have consulted with the Pretrial Services Officer Renee Basurto. We all

27   agree that the conditions of pretrial release should be modified. We all agree that the location

28   monitoring device and the curfew are no longer necessary pretrial release
       Case 2:18-cr-00024-TLN Document 90 Filed 07/12/19 Page 2 of 2


1    conditions. Accordingly, we are asking the Court to remove those conditions and keep in place
2    the remaining conditions. A copy of the Amended Conditions of Supervised Release is attached
3    to this stipulation. That attachment was prepared by the Pretrial Services Agent and agreed to by
4    the parties.
5
6    Dated: July 10, 2019                                 Respectfully submitted,
7                                                         HEATHER E. WILLIAMS
                                                          Federal Public Defender
8
                                                          /s/ Linda C. Allison
9                                                         LINDA C. ALLISON
                                                          Attorney for Defendant
10                                                        DONTE ROBINS
11   Dated: July 10, 2019                                 McGREGOR W. SCOTT
                                                          United States Attorney
12
                                                          /s/ Timothy Delgado
13                                                        Assistant United States Attorney
14
15
                                                ORDER
16
             IT IS SO ORDERED.
17
     Dated: July 12, 2019
18
19
20
21
22
23
24
25
26
27
28

     !Unexpected
      United States v.End  of FormulaUnited
                       Robins                       -2-
